Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 1 of 15




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                     )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )               Case No. 01-CR-03-TCK
                                               )
 ANDRE CURTIS,                                 )
                                               )
                Defendant.                     )

                                     OPINION AND ORDER

        Before the Court is the Defendant's Motion for Reduction of Sentence Pursuant to 18

 U.S.C.§ 3582(c)(1)(A) (Doc. 256). The Government filed a Response in Opposition to Defendant's

 Motion (Doc. 258) and Defendant filed a Reply (Doc. 259).

        On January 7, 2019, Defendant Andre Curtis ("Curtis") filed a Motion for Reduction of

 Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A). (Doc. 256). Curtis seeks a reduction in sentence

 based on “extraordinary and compelling circumstances” in light of the significant sentencing

 disparity created by the First Step Act of 2018. On February 13, 2019, the Government filed its

 Response in Opposition. (Doc. 258). Curtis filed a Reply on February 27, 2019 (Doc. 259).

        The Government urges the Court to deny Curtis's § 3582(c)(1)(A) motion based on the

 contention that Curtis is not eligible for compassionate release. Id. Specifically, the Government

 argues that the First Step Act did not change the requirements for granting compassionate release,

 Curtis's claim does not constitute an “extraordinary and compelling reason[]” warranting relief,

 and that Curtis still poses a danger to the safety of the community. (Doc. 258). Based on the

 following, Curtis submits the Government is wrong as a matter of law as to his eligibility for relief
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 2 of 15




 under 18 U.S.C. § 3582(c)(1)(A). Further, Curtis maintains that he is not a danger to the

 community and that the 18 U.S.C. § 3553(a) factors support a reduction in sentence.

 I. BACKGROUND

        In 2001, a jury convicted Curtis of eight counts of Hobbs Act Robbery and eight counts of

 using a firearm during a crime of violence, in violation of 18 U.S.C. § 924(c). (See Doc. 140).

 Curtis’s first § 924(c) conviction carried a minimum 7-year sentence, and each subsequent § 924(c)

 conviction carried a minimum 25-year sentence. 18 U.S.C. § 924(c)(1)(C)(i). The record further

 reflects a .22 caliber rifle was used during the robberies which resulted in a net cash amount of

 $1,182.00 and some clothing. There were no physical injuries during the robberies and the firearm

 was not discharged. The Presentence Report does not indicate if it was even loaded. At the time of

 the instant case, Curtis's criminal history was relatively minor and consisted of one twelve-year

 old conviction for possession / delivery of a controlled substance, a conviction for concealing

 stolen property, and two misdemeanor traffic offenses. Presentence Report, United States v. Andre

 Curtis at 16-19.

        Curtis was sentenced on April 22, 2002. As required by statute, this Court ordered Curtis’s

 sentences under 18 U.S.C. § 924(c) to run consecutively to each other and to his sentence for the

 robberies. 18 U.S.C. § 924(c)(1)(D)(ii). Curtis received a total sentence of 2,271 months, or 189

 years and has been incarcerated for approximately 238 months, or 19.8 years.

        On direct appeal, the Tenth Circuit affirmed Curtis’s conviction and sentence. United

 States v. Curtis, 344 F.3d 1057 (10th Cir. 2003). Curtis’s motions for relief under 28 U.S.C. § 2255

 and 18 U.S.C. § 3582 were denied. (Docs. 194, 200, 229, 235); see United States v. Curtis, 252

 F.App’x 886 (10th Cir. 2007) (unpublished).


                                              2
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 3 of 15




        In 2015, this Court requested that a compassionate release petition be initiated for Curtis,

 asking the Bureau of Prisons to consider a reduction in sentence pursuant to 18 U.S.C. §

 3582(c)(1)(A)(i). (See Doc. 256 at pp. 4-6). This Court’s letter asserted that extraordinary and

 compelling reasons warranted such a reduction, and asked the Bureau for the opportunity to

 resentence Mr. Curtis. The Court's April 21, 2015 letter stated in pertinent part:

        The Court, in the imposition of the aforementioned sentence, was not given the
        opportunity to use its discretion and experience to impose a sentence that it deemed
        reasonable and sufficient but not greater than necessary to comply with the
        purposes set out by Congress in 18 U.S.C. § 3553(a). The sentence was mandated
        by statute and had the practical effect of a life sentence for Mr. Curtis and has
        denied him any meaningful opportunity for release from incarceration during his
        lifetime. In other words, the sentence is without hope. The Court would have
        imposed a sentence on Mr. Curtis of more than twenty years but less than life. The
        United States Attorney for the Northern District of Oklahoma agrees that a sentence
        of 189 years is excessive; however, he is justifiably concerned as to what would
        compromise a reasonable sentence for Mr. Curtis.

        Pursuant to 18 U.S.C. § 3582 (c) (1)(A), the court may reduce the term of
        imprisonment, upon motion by the Director of the Bureau of Prisons, and after
        consideration of the factors set forth in 18 U.S.C., § 3553(a), if the court finds that
        extraordinary and compelling reasons warrant such a reduction. In the instant case,
        the Court believes that the following reasons warrant a reduction:

        Mr. Curtis was thirty-two years old at the time of the instant offenses. He has a
        limited formal education with an IQ in the borderline range of intellectual
        functioning. Mr. Curtis has a lengthy and severe substance abuse history which
        started at the age of twelve with marijuana and progressed to a dangerous addiction
        to cocaine base, PCP and cigarettes laced with formaldehyde, at the time of the
        instant offenses.

        The instant offenses comprised a string of eight armed robberies of convenience
        and retail stores over the course of ten days in December 2000. Upon arrest, Mr.
        Curtis confessed to his involvement in the robberies, stating that he and his
        accomplices had no intention of hurting anyone and that they were all on crack
        cocaine. Mr. Curtis exercised his right to a jury trial and was convicted on all
        counts. His accomplices pled guilty to charges in the Indictment. Jackie Lee Wayne
        Rice was sentenced to 205 months in the custody of the Bureau of Prisons (BOP)
        and Francine Curtis, Mr. Curtis' sister, was sentenced to 162 months in the custody
        of the BOP. Mr. Rice died while in custody and Ms. Curtis was released on
        September 25, 2012. The custodial sentence received by the accomplices were
        comparably less than ten percent of the sentence received by Mr. Curtis.

                                              3
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 4 of 15




        Mr. Curtis' sentence of 2,271 months equates to a life sentence for conduct spanning
        ten days. Life sentences are rare in the federal system. The vast majority of all
        offenders convicted of a federal crime eventually return to society. Further, the
        average length of sentence for offenders convicted of multiple counts of 18 U.S.C.
        § 924 (c) nationwide is 358 months (29 years). In comparison with Mr. Curtis's
        sentence of 198 years, it is extremely disparate with similar defendants found guilty
        of similar conduct. Further, the sentence imposed on Mr. Curtis is excessively
        severe when compared to the sentences imposed on his codefendants.

        In October 2013, the United States Sentencing Commission suggested that
        Congress consider amending Section 924(c) to address the "stacking" of 25 year
        charges for multiple offenses; require a prior conviction to trigger repeat offender
        enhancements; provide sentencing courts with discretion over whether to impose
        concurrent or consecutive sentences; and clarify the statutory definition of the terms
        used in § 924 (c) . The reasoning was that reducing the length of the mandatory
        minimum penalty would reduce the risk of excessive severity; permit the guidelines
        to better account for the variety of mitigating and aggravating factors that may be
        present in a particular case; reduce the potential for overly severe sentences for
        offenders, like Mr. Curtis, who have not been previously convicted of an offense
        under § 924 (c); and ameliorate some of the demographic impacts resulting from
        stacking.

        In the interest of justice, the Court is requesting consideration of a § 3582 (c)(1)(A)
        motion by you, if so designated, or from the Director of the Bureau of Prisons,
        allowing the Court the opportunity to resentence Mr. Curtis to a sentence that
        comports with § 3553(a) and allows Mr. Curtis the meaningful opportunity to
        rehabilitate and be released from incarceration within his lifetime.

        Finally, the Court intends to impose a term of supervised release equal to the
        unserved portion of the original term of imprisonment with a strict limitation on
        Mr. Curtis's ability to travel and other suitable conditions designed to protect the
        public and deter criminal conduct.

        The Bureau of Prisons denied Curtis’s request in January 2016, noting that it “does not use

 this discretion to reopen legal matters to allow courts to resentence a defendant.” (BOP letter of

 Jan. 11, 2016, Doc. 256 at 3). Rather, it observed, “Mr. Curtis may seek relief through 18 U.S.C.

 § 3582(c)(1)(A)(i) when he meets a medical or nonmedical criteria set forth in Program Statement

 5050.49.” Id. Curtis's current anticipated release date is April 11, 2162.




                                              4
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 5 of 15




         Since Curtis's sentencing in 2002, significant reforms have been made within the criminal

 justice system to avoid excessively long prison sentences. Although many changes have not been

 deemed retroactively applicable, numerous district courts have found that the massive sentencing

 disparities caused by recent legislation warrant a reduction in sentence through 18 U.S.C. §

 3582(c)(1)(A).

        Curtis's motion is compelling because if he were sentenced today, he would not face

 "stacked" § 924 (c) charges, and he would be far more likely to have entered into the 18 year plea

 deal he states he was offered by the Assistant United States Attorney.

 II. APPLICABLE LAW

        In December 2018, Congress enacted the First Step Act (“FSA”) which modified

 §3582(c)(1) of Title 18 of the United States Code to allow a defendant to bring a motion for

 modification of sentence where “extraordinary and compelling reasons warrant such a

 reduction[.]” 18 U.S.C. § 3582(c)(1)(A)(i). Section 3582(c) now reads:

        (c) Modification of an Imposed Term of Imprisonment. –The court may not modify
        a term of imprisonment once it has been imposed except that––

        (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion
            of the defendant after the defendant has fully exhausted all administrative rights
            to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s
            behalf or the lapse of 30 days from the receipt of such a request by the warden
            of the defendant’s facility, whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of probation or supervised release with
            or without conditions that does not exceed the unserved portion of the original
            term of imprisonment), after considering the factors set forth in § 3553(a) to
            the extent that they are applicable, if it finds that––

                  (i)    extraordinary and compelling reasons warrant such a reduction; or

                  (ii)    the defendant is at least 70 years of age, has served at least 30 years
                  in prison, pursuant to a sentence imposed under section 3559(c) for the
                  offense or offenses for which the defendant is currently imprisoned, and a

                                                5
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 6 of 15




                determination has been made by the Director of the Bureau of Prisons that
                the defendant is not a danger to the safety of any other person or the
                community, as provided under § 3142(g); and that such a reduction is
                consistent with applicable policy statements issued by the Sentencing
                Commission.

 18 U.S.C. § 3582(c)(1)(A) (emphasis added). 1

        If the Court finds the exhaustion requirements are met and extraordinary and compelling

 circumstances are present, the Court may reduce a term of imprisonment “consistent with

 applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

 Further, the statute requires the Court “to consider the factors set forth in [18 U.S.C. §] 3553(a) to

 the extent they are applicable.” Id.

        A. Exhaustion Requirement

        Although there has been a significant split among district courts on whether the exhaustion

 requirement of § 3582(c)(1)(A) is jurisdictional and/or excusable, two Courts of Appeals have

 recently weighed in on the subject. In United States v. Raia, the Third Circuit concluded that failure

 to comply with the statute’s exhaustion requirement “presents a glaring roadblock foreclosing

 compassionate release[.]” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

        More recently, the Sixth Circuit found that a prisoner’s failure to exhaust his administrative

 remedies did not deprive the court of subject matter jurisdiction; however, the court concluded that



 1
   The U.S. Sentencing Commission published data on resentencings pursuant to Section
 404 of the First Step Act of 2018. Under Section 404, defendants sentenced before the Fair
 Sentencing Act of 2010 are eligible for a retroactive sentence reduction. Through June 30,
 2020, the Commission found that 3,363 offenders were granted a sentence reduction. Of
 the 3,363 offenders granted sentence reduction 65.6 % were assigned to the highest
 Criminal History Category (IV), 56.3 % were Career Offenders, and 44.5 % received a
 weapon-related sentencing enhancement. United States Sentencing Commission, October
 19, 2020.
                                               6
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 7 of 15




 the exhaustion requirement “looks like a claim-processing rule, and in operation it acts like one.”

 United States v. Alam, __F.3d__, 2020 WL 2845694, at *2 (6th Cir. June 2, 2020). In so holding,

 the court noted:

        Even though this exhaustion requirement does not implicate our subject-matter
        jurisdiction, it remains a mandatory condition. If the Director of the Bureau of
        Prisons does not move for compassionate release, a prisoner may take his claim to
        court only by moving for it on his own behalf. To do that, he must “fully exhaust []
        all administrative rights to appeal” with the prison or wait 30 days after his first
        request to the prison.

 18 U.S.C. § 3582(c)(1)(A). Id.

        B. Extraordinary and Compelling Circumstances

        As many district courts have noted post-First Step Act, “Congress has not specified the

 circumstances that qualify as ‘extraordinary and compelling reasons’ except to state that a

 reduction pursuant to this provision must be ‘consistent with applicable policy statements issued

 by the Sentencing Commission.” United States v. Bucci, 2019 WL 5075964, at *1 (D. Mass. Sept.

 16, 2019). The applicable policy statement of the Sentencing Commission can be found at U.S.S.G.

 § 1B1.13. The commentary to this section states:

        1. Extraordinary and Compelling Reasons. –Provided the defendant meets the
           requirements of subdivision (2) [not a danger to society], extraordinary and
           compelling reasons exist under any of the circumstances set forth below:

        (A) Medical Condition of the Defendant. –

                (i)      The defendant is suffering from a terminal illness (i.e., a serious and
                advanced illness with an end of life trajectory). A specific prognosis of life
                expectancy (i.e., a probability of death within a specific time period) is not
                required. Examples include metastatic solid-tumor cancer, amyotrophic
                lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

                (ii)   The defendant is––
                       (I) suffering from a serious physical or medical condition,
                       (II) suffering from a serious functional or cognitive impairment, or

                                               7
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 8 of 15




                       (III) experiencing deteriorating physical or mental health because of
                           the aging process, that substantially diminishes the ability of the
                           defendant to provide self-care within the environment of a
                           correctional facility and from which he or she is not expected to
                           recover.

        (B) Age of the Defendant. –The defendant (i) is at least 65 years old; (ii) is
            experiencing serious deterioration in physical or mental health because of the
            aging process; and (iii) has served at least 10 years or 75 percent of his or her
            term of imprisonment, whichever is less.

        (C) Family Circumstances. –

               (i)     The death or incapacitation of a caregiver of the defendant’s minor
               child or minor children.
               (ii)    The incapacitation of the defendant’s spouse or registered partner
               when the defendant would be the only available caregiver for the spouse or
               registered partner.

        (D) Other Reasons. –As determined by the Director of the Bureau of Prisons, there
            exists in the defendant’s case an extraordinary and compelling reason other
            than, or in combination with, the reasons described in subdivisions (A) through
            (C).

 U.S.S.G. § 1B1.13.

        Since the enactment of the First Step Act, district courts across the country have found

 various factors and circumstances which qualify as “extraordinary and compelling.” See, e.g.,

 United States v. Ebbers, 2020 WL 91399 (S.D.N.Y. Jan. 8, 2020) (“The rapid decline [in health]

 coupled with Ebbers’s age present ‘extraordinary and compelling reasons”); United States v.

 Urkevich, 2019 WL 6037391 (D. Neb. Nov. 14, 2019) (concluding that the stacking provision of

 18 U.S.C. § 924(c) constitutes an extraordinary and compelling reason for reduction in sentence

 after the First Step Act); and United States v. Beck, 2019 WL 2716505 (M.D.N.C. June 28, 2019)

 (“Ms. Beck’s invasive cancer and the abysmal health care BOP has provided qualify as

 ‘extraordinary and compelling reasons’ warranting a reduction in her sentence to time served.”).

        C. Sentencing Commission Policy and 18 U.S.C. § 3553(a) Factors

                                              8
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 9 of 15




         Section 3582(c)(1)(A) allows for a court to reduce a term of imprisonment “after

 considering the factors set forth in section 3553(a) to the extent that they are applicable, if it finds

 that– (i) extraordinary and compelling reasons warrant such a reduction; … and that such a

 reduction is consistent with applicable policy statements issued by the Sentencing Commission[.]”

         The § 3553(a) “factors include, among other things, ‘(1) the nature and circumstances of

 the offense and the history and characteristics of the defendant,’ as well as ‘(2) the need for the

 sentence imposed – (A) to reflect the seriousness of the offense, to promote respect for the law,

 and to provide just punishment for the offense; (B) to afford adequate deterrence to criminal

 conduct; [and] (C) to protect the public from further crimes of the defendant.’” United States v.

 Rodriguez-Orejuela, 2020 WL 2050434, at *4 (S.D. Fla. Apr. 28, 2020) (quoting 18 U.S.C. §

 3553(a)).

         Under § 1B1.13 of the U.S. Sentencing Guidelines, the Court may reduce a term of

 imprisonment after consideration of the § 3553(a) factors, if the Court determines that:

         (1) (A) extraordinary and compelling reasons warrant the reduction;
        (2) the defendant is not a danger to the safety of any other person or to the community, as
 provided in 18 U.S.C. § 3142(g); and
         (3) the reduction is consistent with this policy statement.
 U.S.S.G. § 1B1.13(1)-(3).

 III. A REDUCTION IN SENTENCE UNDER 18 U.S.C. § 3582(c)(1)(A)(i) IS WARRANTED
         A. Curtis Has Met the Exhaustion Requirements of § 3582(c)(1)(A)

         As noted supra, on April 21, 2015, this Court requested that a compassionate release

 petition be initiated for Curtis, asking the Bureau of Prisons to consider a reduction in sentence

 pursuant to 18 U.S.C. § 3582 (c)(1)(A)(i). The Warden denied Curtis's request on January 11,


                                                9
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 10 of 15




  2016. Therefore, Curtis has fully exhausted his administrative appeals and has met the exhaustion

  requirements under 18 U.S.C. § 3582(c)(1)(A).

         B. Extraordinary and Compelling Circumstances Justify a Reduction in Sentence

         As cited above, district courts across the country have found various scenarios which

  qualify as “extraordinary and compelling” circumstances and fulfill the requirements of this

  standard. Pursuant to the U.S.S.G. § 1B1.13 commentary, extraordinary and compelling reasons

  may include: (A) medical conditions of the defendant; (B) age of the defendant; (C) family

  circumstances; or (D) other reasons. U.S.S.G. § 1B1.13, cmt. n. 1. “Other reasons” is further

  defined by the Guidelines as follows:

         (D) Other Reasons. –As determined by the Director of the Bureau of Prisons, there exists
            in the defendant’s case an extraordinary and compelling reason other than, or in
            combination with, the reasons described in subdivisions (A) through (C). Id.
         As several courts have noted: " Section 1B1.13, as currently written, would not constrain

  this Court’s ability to find extraordinary and compelling reasons here. As the Sentencing

  Commission’s policy statement was not amended after enactment of the FSA [First Step Act] a

  growing number of district courts have concluded the Commission lacks an applicable policy

  statement regarding when a judge can grant compassionate release… because the Commission

  never harmonized its policy statement with the FSA [First Step Act].” United States v. Mondaca,

  2020 WL 102024, at *3 (S.D. Cal. Mar. 3, 2020); (citing Brown, 411 F. Supp. 3d at 477, 499

  (canvassing district court decisions)); see also United States v. Redd, 2020 WL 1248493, at *6

  (E.D. Va. Mar. 16, 2020) (“[T]here does not currently exist, for the purpose of satisfying the

  [“FSA’s”] ‘consistency’ requirement, an ‘applicable policy statement.’”).

         This Court is persuaded by the reasoning of numerous other district courts and holds that

  it is ‘not constrained by the BOP Director’s determination of what constitutes extraordinary and
                                             10
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 11 of 15




  compelling reasons for a sentence reduction.” United States v. Young, 2020 WL 1047815, at *6

  (M.D. Tenn. Mar. 4, 2020); See also United States v. Perez, 2020 WL 1180719, at *2 (D. Kan.

  Mar. 11, 2020) (“[A] majority of federal courts have found that the most natural reading of the

  amended § 3582(c) and § 994(t) is that the district court assumes the same discretion as the BOP

  director when it considers a compassionate release motion properly before it.”); United States v.

  Etzel, 2020 WL 2096423, at *3 (D. Or. May 1, 2020). Accordingly, this Court may conduct an

  independent assessment of whether “extraordinary and compelling” reasons warrant a sentence

  reduction under § 3582(c)(1)(A)(i).

         The extraordinary and compelling circumstances presented in the instant case relate to the

  significant sentencing disparity created by another provision of the First Step Act–the changes to

  the penalty provisions under 18 U.S.C. § 924(c)(1)(C). Section 403 of the First Step Act amended

  § 924(c)(1)(C) to now read:

         (D) In the case of a violation of this subsection that occurs after a prior conviction
             under this subsection has become final, the person shall–

             (i)     be sentenced to a term of imprisonment of not less than 25 years.

  18 U.S.C. § 924(c)(1)(C).

         Prior to the enactment of the First Step Act, an enhanced, statutory minimum penalty was

  provided for any § 924(c) conviction after the first, regardless of whether the subsequent

  conviction was a part of the instant offense. Such is Curtis's case. Curtis received a term of 189

  years. If Curtis were sentenced based on what we now understand to be fair and reasonable

  punishment, he would not have been subject to a mandatory enhancement. The amendments to §

  924(c)(1)(C) under the First Step Act would apply in this case if Curtis were convicted of the same

  crimes today. This reveals a 147-year discrepancy between Curtis's current sentence and the


                                              11
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 12 of 15




  sentence to which he would be subject if convicted today; instead of 189 years, Curtis would be

  subject to a 42-year sentence. Further, Curtis has already served 20 years of his 42-year sentence.

         Recognizing the disparity created by the First Step Act’s alterations to § 924(c), many

  district courts have granted reductions to defendants with “stacked” 924(c) convictions. In United

  States v. Urkevich, the U.S. District Court for the District of Nebraska found that “[a] reduction in

  [Urkevich’s] sentence is warranted by extraordinary and compelling reasons, specifically the

  injustice of facing a term of incarceration forty years longer than Congress now deems warranted

  for the crimes committed.” United States v. Urkevich, 2019 WL 6037391, at *4 (D. Neb. Nov. 14,

  2019). Since the Urkevich decision, numerous other district courts have followed suit. See, e.g.,

  United States v. Young, 2020 WL 1047815 (M.D. Tenn. Mar. 4, 2020); United States v. O’Bryan,

  2020 WL 869475 (D. Kan. Feb. 21, 2020); United States v. Maumau, No. 2020 WL 806121 (D.

  Utah Feb. 18, 2020).

         After the decisions in Urkevich, Young, O’Bryan, and Maumau, district courts across the

  country have continued to grant § 3582(c)(1)(A) relief based on the “stacking” of § 924(c)

  convictions. See United States v. Clausen, 2020 WL 4260795 (E.D. Pa. July 24, 2020) (reducing

  sentence to time served after serving 20 years on nine counts of § 924(c) resulting in a 213-year

  sentence); United States v. Burt, 2020 WL 4001906 (E.D. Mich. July 15, 2020) (reducing sentence

  to time served after serving 30 years of a 41-year sentence for stacked § 924(c) convictions);

  United States v. Adeyemi, 2020 WL 3642478 (E.D. Pa. July 6, 2020) (reducing sentence to time

  served based on two § 924(c) where defendant was sentenced to 385 months at the age of 19);

  United States v. Lott, 2020 WL 3058093 (S.D. Cal. June 8, 2020) (reducing a sentence of 423

  months based on stacked § 924(c) convictions to 375 months imprisonment); McCoy v. United

  States, 2020 WL 2738225 (E.D. Va. May 26, 2020) (granting a reduction in sentence from stacked

                                               12
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 13 of 15




  § 924(c) convictions where defendant was sentenced at age 20 to a 421-month term and finding

  the defendant’s relative youth at the time of sentence, overall length of sentence, disparity between

  his sentence and those sentenced for similar crimes after the First Step Act, and his rehabilitation

  efforts form extraordinary and compelling basis for relief); United States v. Haynes, 2020 WL

  1941478 (E.D.N.Y. Apr. 22, 2020) (reducing a 46-year term of imprisonment after serving 27

  years based on § 924(c) stacking).

         If Curtis were sentenced today, he would not be subject to the mandatory enhanced

  sentence for a subsequent § 924(c) conviction. As the district courts in Urkevich, Young, O’Bryan,

  and Maumau have recognized, such a significant disparity in sentence constitutes an

  “extraordinary and compelling” reason for a reduction of sentence pursuant to 18 U.S.C. §

  3582(c)(1)(A).

        C. A Reduction in Sentence is Warranted After Consideration of the 18 U.S.C. §
  3553(a) Factors and Sentencing Guidelines Policy
         Having established that Curtis has exhausted his administrative appeal, and that

  extraordinary and compelling circumstances exist, the Court must consider the factors under 18

  U.S.C. § 3553(a) and the Sentencing Guidelines policy to determine whether a reduction in

  sentence is warranted

         Importantly, evidence of post-sentence rehabilitation is likely the most critical of core

  considerations for the Court in a § 3582(c) proceeding. In Pepper v. United States, 131 S.Ct. 1229,

  1241 (2011), the Court emphasized the important nature of post-sentence rehabilitation, stating

  that “there would seem to be no better evidence than a defendant’s post incarceration conduct.” Id.

  Indeed, the Court continued, “Post-sentencing rehabilitation may also critically inform a sentencing




                                               13
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 14 of 15



  judge’s overarching duty under § 3553(a) to ‘impose a sentence sufficient, but not greater than necessary’

  to comply with the sentencing purposes set forth in § 3553(a)(2).” Id. at 1242.2


          Looking to the history and characteristics of the defendant, 18 U.S.C. § 3553(a)(1), Curtis

  recognizes the severity of his wrongdoing and has committed himself to proving his rehabilitation.

  During his time incarcerated, Curtis continues to work on self-development and personal growth

  having completed many hours of classes and programs in an array of subjects offered by the BOP.

  The Education Information Summary states: " Inmate Curtis has completed numerous classes

  during his incarceration. Most notable are the Apprenticeship Unicor Quality Assurance class, and

  VT Cabinet Making. Inmate Curtis has also completed the Life Connection Program. Curtis is also

  a Suicide Watch inmate companion, and participates in regular suicide companion training."

  (Summary Reentry Plan / Progress Report; Department of Justice / Federal Bureau of Prisons).

  Bureau of Prison records also reflect Curtis has obtained a Commercial Driver's License ('CDL")

  on November 4, 2016 and again on August 27, 2020. Further, Curtis completed and received his

  GED in 2016. Id. His Work Assignment Summary states: "Inmate Curtis has worked various jobs

  throughout his incarceration. Since his arrival at Greenville, he continued to work in Unicor until

  a recent significant reduction in available work. He has most recently been assigned to food




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    “In addition, evidence of post sentencing rehabilitation may be highly relevant to several
  of the § 3553(a) factors that Congress has expressly instructed district courts to consider at
  sentencing. For example, evidence of post sentencing rehabilitation may plainly be relevant
  to ‘the history and characteristics of the defendant.’ § 3553(a)(1). Such evidence may also
  be pertinent to ‘the need for the sentence imposed’ to serve the general purposes of
  sentencing set forth in § 3553(a)(2) – in particular, to ‘afford adequate deterrence to
  criminal conduct,’ ‘protect the public from further crimes of the defendant,’ and ‘provide
  the defendant with needed educational or vocational training…or other correctional
  treatment in the most effective manner." §§3553(a)(2)(B)-(D); see McMannus, 496 F.3d,
  at 853 (Melloy, J., concurring) (“In assessing…deterrence, protection of the public, and
  rehabilitation, 18 U.S.C. § 3553(a)(2)(B)(C) & (D), there would seem to be no better
  evidence than a defendant’s post incarceration conduct”). Id.
                                                  14
Case 4:01-cr-00003-TCK Document 276 Filed in USDC ND/OK on 11/04/20 Page 15 of 15




  service. He is dependable, requires little to no supervision, and is good at his job." Id. Notably,

  Curtis has continued his financial obligations and has paid his fines and restitution quarterly. Id.

         Considering Curtis's conviction at a relatively young age, receiving what amounted to a

  life sentence, the disparity between his sentence and those of his codefendants, the disparity of

  sentence between his sentence and those sentenced for similar crimes after the First Step Act, and

  his rehabilitation efforts, the Court finds extraordinary and compelling circumstances which form

  the basis for relief. Therefore, the Court finds that a reduction under § 3582(c)(1)(A) to a sentence

  of time served is “sufficient, but not greater than necessary” to comply with the sentencing

  purposes set forth in § 3553(a).

  IV. CONCLUSION

         Based on the foregoing, the Court grants Curtis's Motion for Compassionate Release (Doc.

  256). Defendant’s sentence is hereby reduced to time served, plus 14 days. The fourteen-day period

  prior to release from the Bureau of Prisons should be spent in quarantine for protection of the

  public. The previously imposed fine, term of supervised release and conditions of supervision

  remain unchanged.3 The Bureau of Prisons is directed to provide a plan of release to the United

  States Probation office for the Northern District of Oklahoma expeditiously.

         IT IS SO ORDERED this 4th day of November, 2020.




  3
   Pursuant to 18 U.S.C. § 3582(c)(1)(A), the Court may impose a term of supervised release
  with or without conditions that does not exceed the unserved portion of the original term
  of imprisonment.
                                               15
